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                IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF
                              FLORIDA
                       JACKSONVILLE DIVISION

THE OKAVAGE GROUP, LLC
on behalf of itself and all others
similarly situated,

      Plaintiff,
                                             Case No. 3:21-CV-00448

v.



UNITED WHOLESALE MORTGAGE, LLC
and
MATHEW ISHBIA, individually,

    Defendants.
________________________________________/

              SECOND AMENDED CLASS ACTION COMPLAINT
       Plaintiff, The Okavage Group, LLC, (“The Okavage Group” or

“Plaintiff”), on behalf of itself and all others similarly situated, by and

through its attorneys, files this second amended complaint against

Defendants United Wholesale Mortgage LLC, a Michigan limited liability

(“UWM”) and Mathew Ishbia (“Ishbia”), and states as follows:

       1.      This is a class action brought by Plaintiff on behalf of all

mortgage brokers (“the Class” or “Class Members”) that currently are or

have been clients of mortgage lenders UWM and either Fairway

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Independent Mortgage (“Fairway Mortgage”) or Rocket Pro TPO (a division

of Rocket Mortgage) and have been affected by Defendants’ ultimatum (the

“Ultimatum”). The Ultimatum and the resulting boycott required them to

cease doing business with Fairway Mortgage and Rocket Pro TPO, or face

termination of their business relationship with UWM and/or exorbitant

and unconscionable monetary penalties in the minimum amount of

$50,000.

       2.     This case is brought to challenge the group boycott initiated and

coerced by Defendants which cut off more than 9,000 mortgage brokers

from an opportunity to refer their customers to the mortgage lender of their

choice for their mortgages. Brokers who did so were harmed (and their

customers were harmed) by the unavailability of lower priced, better

quality mortgages from Rocket and Fairway. Brokers who refused to

participate in the boycott were harmed because they no longer could utilize

the services of UWM, the largest wholesale mortgage broker. This boycott

therefore harmed the class as well as consumers and overall competition in

the relevant wholesale mortgage lending submarket.

                   PARTIES, JURISDICTION AND VENUE

       3.     Plaintiff, The Okavage Group, LLC (“The Okavage Group”), is,

and at all times relevant hereto has been, a Florida limited liability



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company organized under the laws of the State of Florida, with its principal

place of business in St. Augustine, Florida.

       4.     The Okavage Group, LLC’s sole member is Daniel Okavage, who

is a citizen of Florida, thereby making The Okavage Group, LLC a citizen of

Florida.

       5.     Defendant UWM, is a limited liability company organized July

16, 1986, under the laws of Michigan with its principal place of business in

Pontiac Michigan. During all times relevant hereto, UWM has conducted

and continues to regularly conduct business in, and with mortgage brokers

located in the State of Florida.

       6.     Defendant, Mathew (Mat) Ishbia, is a citizen of the State of

Michigan.     During all times relevant hereto, Ishbia has conducted and

continues to regularly conduct business in and with mortgage brokers

located in the State of Florida.

       7.     Mr.   Ishbia,    knowingly       and   intentionally   directed

communications announcing the unlawful Ultimatum and false statements

to mortgage brokers in order to coerce brokers to acquiesce to the

Ultimatum and agree to boycott Rocket and Fairway.




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       8.     Mr.   Ishbia’s   communications     announcing     the   unlawful

Ultimatum and false statements were received by mortgage brokers,

including Plaintiff and Class Members located in the State of Florida.

       9.     Plaintiff brings this private right of action for treble damages

under Section 15(a) of the Clayton Act, 15 U.S.C. § 15(a), for violation of the

federal antitrust laws, sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1

and 2. This Court has direct federal question jurisdiction over these claims

pursuant to 28 U.S.C. § 1331 and pendent and supplemental jurisdiction

over all related claims pursuant to 28 U.S.C. § 1337.

       10.    Plaintiff also brings this action under the Florida Antitrust Act,

Fla. Stat. § 542, et seq., and Florida’s Unfair and Deceptive Trade Practices

Act, Fla. Stat. § 501.201, et seq., to obtain restitution, statutory damages

and injunctive relief. This Court has supplemental jurisdiction over these

pendant Florida state law claims under 28 U.S.C. §§ 1332(d) and 1367

because the claims arise from the same nucleus of operative facts as the

federal antitrust law claims, and as such, are so related that they form the

same case or controversy.

       11.    The Court also has subject matter jurisdiction over Plaintiff’s

class claims pursuant to the Class Action Fairness Act, 28 U.S.C. § 1332(d)

because the combined claims of the proposed class members exceed $5


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million, Defendants and Plaintiff are citizens of different states, and there

are at least 3,000 members of the putative class. Further, in determining

whether the $5 million amount in controversy requirement of 28 U.S.C. §

1332(d)(2) is met, the claims of the putative class members are aggregated.

28 U.S.C. § 1332(d)(6).

       12.    This Court has general and specific personal jurisdiction over

the Defendants because they engage in substantial and not isolated activity

in this State within the meaning of Florida’s long-arm statute, Florida

Statutes § 48.193(2), and both defendants intentionally committed the

illegal and tortious conduct alleged herein within the State of Florida

making them subject to personal jurisdiction under Florida’s long-arm

statute, Florida Statutes § 48.193(1)(b).

       13.    Each of the Defendants named in this Amended Complaint

either transacted business in the Middle District of Florida, Jacksonville

Division, or has sufficient contacts with said district and division to confer

jurisdiction thereupon or venue is otherwise proper as to each Defendant

because the claim arose in such district or division. The unlawful activities

alleged herein were carried out, in part, within the Middle District of

Florida, Jacksonville Division, and the interstate trade and commerce




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alleged herein was carried on, in part, within the Middle District of Florida,

Jacksonville Division.

       14.    Venue is proper in this District pursuant to: (1) 28 U.S.C. §

1391(b)(2) in that a substantial part of the events or omissions giving rise to

Plaintiff’s claims occurred in this District; and (2) 28 U.S.C. § 1391(b)(3) in

that Defendants are subject to personal jurisdiction in this District.

       15.    All conditions precedent to this action have occurred, been

performed, or have been waived.

                          AFFECTED COMMERCE

       16.    UWM markets, originates and sells its wholesale mortgages in

interstate commerce in amounts of hundreds of millions of dollars

annually. Similarly, Rocket Mortgage and Fairway market, originate and

sell their wholesale mortgages in interstate commerce in amounts of at least

hundreds of millions of dollars annually.

       17.    Okavage and other class members arrange for their clients to

obtain mortgages predominantly from mortgage lenders located in other

states, and therefore through interstate commerce. This involves hundreds

of millions of dollars annually. The same is true of the mortgage brokers

who participated in the boycott described above.




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       18.    Defendants’ actions described here caused a shift in origination

of mortgages in interstate commerce away from Rocket Mortgage and

Fairway in the amount of at least tens of millions of dollars annually. They

also caused consumers to pay higher prices and obtain lower quality

mortgages, again, involving at least tens of millions of dollars of mortgages

annually.

       19.    Okavage and other brokers in the class located in the state of

Florida ordered mortgages for their clients who contracted for them in

Florida, with respect to Florida real estate, and therefore, their actions took

place in, and affecting, Florida commerce. Similarly, UWM, Fairway and

Rocket each market and originate at least tens of millions of dollars of

wholesale mortgages annually to consumers in the state of Florida.

Defendants’ actions have diverted at least millions of dollars of wholesale

mortgages away from Rocket Mortgage and Fairway in the state of Florida,

and caused consumers to pay higher prices and obtain poorer quality

mortgages for wholesale mortgages in the state of Florida with a value of at

least millions of dollars annually.

                          FACTUAL BACKGROUND

     I.       THE WHOLESALE MORTGAGE BROKER MARKET

       20.    A relevant market or relevant sub-market in this case is the

national market for wholesale lending for mortgages sold through mortgage

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brokers. UWM is a “Wholesale Mortgage Lender.” Wholesale mortgage

lenders offer mortgage loans through independent third parties, such as

mortgage brokers.      As such, wholesale mortgage lenders do not work

directly with consumers/borrowers until after a loan has been funded, if at

all. Wholesale mortgage lenders generally fund and, in some instances,

service loans, including collecting payments after funding. There is no

substitute for mortgage lending for most consumers, who need to borrow

money to be able to afford to buy a house, and need to offer the home as

security (in a mortgage) in order to obtain reasonable credit terms. This

competition occurs throughout the State of Florida and the United States.

       21.    By comparison, a “Retail Mortgage Lender” deals directly with

consumers/prospective borrowers from the beginning of a transaction,

including providing loan applications and collecting completed loan

applications, performing income verification and collecting other required

documentation, as well as quoting interest rates.

       22.    For wholesale lending, third parties, such as mortgage brokers,

provide loan applications to the consumer/prospective borrower, collect

completed loan applications, perform income verification and collect other

required documentation.        Additionally, mortgage brokers advise the

customer of available interest rates and loan terms and select a particular


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wholesale mortgage lender in order to find the best mortgage loan product

and pricing for their client. The central pillar of the mortgage broker

business is independence – the ability of the broker to choose from a

variety of wholesale lenders to select the mortgage product and experience

that best matches the specific needs of the broker’s client.

       23.    Buyers may opt to hire an independent mortgage advisor or

broker to search and match the buyer to a mortgage that satisfies his or her

preferences. The broker’s value rests in his or her sophistication and

knowledge of mortgage options that lenders offer. The broker can often find

mortgage options that are less expensive, but still meets the buyer’s

preferences, based on his or her knowledge of which lenders are suitable for

each buyer. In general, brokers prefer to have more choices in lenders and

more mortgage options because they have a larger menu from which they

can find a suitable mortgage for their clients.

       24.    Mortgage brokers compete with one another for the business of

consumers seeking mortgages. All mortgage brokers thus operate at the

same market level. They engage in this competition through advertising,

internet marketing, involvement in community activities, consumer

mailings, and competition to obtain referrals from real estate brokers and

agents.


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       25.    Factors supporting the conclusion that wholesale mortgage

lending is a separate submarket include the following:

              A.   A distinct group of customers (those who choose to utilize

                   mortgage brokers) utilize wholesale lenders;

              B.   The wholesale lending channel is recognized as separate

                   and distinct by mortgage brokers and others in the

                   industry;

              C.   Mortgage brokers are specialized vendors (focused on

                   local marketing to consumers and on surveying, and

                   choosing among, mortgage lenders) with their own

                   unique facilities in local communities;

              D.   Wholesale mortgage lenders, unlike retail mortgage

                   lenders, do not operate facilities for marketing directly to

                   the consumer, and do not do so (unless they also operate

                   in the retail channel); and

              E.   The consumers who utilize mortgage brokers and

                   therefore wholesale mortgage lenders would not readily

                   switch to a retail mortgage lender for a small difference in

                   price, because of their desire to obtain advice from a




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                   mortgage broker professional regarding the proper choice

                   of a mortgage.

              F.   UWM itself maintains that the typical borrower who uses

                   a mortgage broker will save $9,400 over the life of the

                   loan, compared to a borrower who uses the standard retail

                   shop.

       26.    As of March 31, 2020, mortgage lending originated through

independent brokers controlled 15.8% of residential mortgage loan

originations in the U.S., while direct-to-buyer lending represented 57.5%.

(See UWM Holdings Corporation Prospectus, Registration No. 333-252422,

link (“UWMC Prospectus”)), at Risk Factors, p. 14).

       27.    UWM    is the largest wholesale mortgage lender, with

approximately 34% market share of the wholesale market. Id. at Summary

of the Prospectus, p. 1. UWM boasts that it has over 10,000 mortgage

brokers under contract with it. This represents more than 60% of the

wholesale mortgage brokers in the United States.

       28.    UWM’s prospects notes that “the mortgage business has

experienced substantial consolidation.” It also states that for the 12 months

ended September 30, 2020, UWM experienced a “more than 84% increase

year over year” in home loans closed.


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       29.    UWM    regularly   accepts   and   processes   mortgage   loan

applications. Additionally, UWM regularly funds mortgage loans based on

such mortgage loan applications.

       30.    Fairway Mortgage offers retail mortgage lending through its

retail mortgage lending division, as well as wholesale mortgage lending

through its Fairway Wholesale Lending division.

       31.    Rocket Mortgage offers retail mortgage lending through its

retail mortgage lending division. Rocket Mortgage also offers wholesale

mortgage lending through its wholesale mortgage lending division, Rocket

Pro TPO. Fairway and Rocket Pro TPO are direct competitors of UWM in

the wholesale/broker channel. At the time of the Ultimatum, they had the

largest market share in the wholesale space after UWM and were UWM’s

closest rivals.

       32.    Rocket Mortgage through Rocket Pro TPO offered a number of

benefits to mortgage brokers and their customers:

              A.   Rocket Mortgage is a very well-recognized national brand

                   which is attractive to customers, and therefore provides a

                   benefit to the mortgage brokers who service those

                   customers.




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              B.   Rocket Mortgage is less restrictive in the credit scores it

                   requires than is UWM, and therefore provides an

                   opportunity for loans to consumers who would be refused

                   by UWM.

              C.   Rocket Mortgage offers lower cost, better mortgage

                   insurance than does UWM. For example, Rocket

                   Mortgage outranked UWM (and was second among all

                   mortgage lenders) in J. W. Powers 2022 Mortgage

                   Servicers Satisfaction study. Bankrate scored both Rocket

                   and Fairway higher than UWM in all three scoring

                   components, affordability, availability, and borrower

                   experience.

       33.    Fairway Mortgage also offers many benefits to consumers:

              A.   Fairway is also a very well recognized national brand,

                   identified as the best mortgage lender for USDA loans by

                   the Ascent. Fairway states it was number one in FHA

                   mortgage purchase volume in 2019 and number four in

                   VA mortgage purchase units and volume in 2020.

              B.   Fairway has over 750 branch and satellite locations.




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       34.    Mr. Ishbia has stated that UWM is “not trying to be the best

priced.” (See Video Link.) One broker has stated that Rocket “consistently

beat[s] UWM in price across every product type offered.” Another broker

stated that UWM’s “pricing is often higher than their competitors . . .”

       35.    Prior to January 2021, UWMC’s share price had been declining,

and UWM’s competitors in the wholesale lending market, including in

particular Fairway Mortgage and Rocket Pro TPO, expanded their market

share in part because of their innovative product offerings and better

pricing. From 2018 to 2021 Rocket’s wholesale business increased from

3,000 mortgage broker partners to 10,000, reflecting the fact that Rocket’s

products and prices were especially attractive to mortgage brokers and their

customers. Rocket stated that it invested $100 million into the broker

channel alone in 2021. During the month prior to the issuance of his

ultimatum by Mr. Ishbia, Rocket Pro TPO originated as many wholesale

mortgage loans as did UWM. This, in turn led to lower rates for

consumers/prospective borrowers.

    II.       THE ANTICOMPETITIVE SCHEME

       36.    To mitigate the risk of losing more market share to Rocket Pro

TPO and Fairway, and to increase its dominance in the wholesale market,

on March 4, 2021, UWM orchestrated an anticompetitive scheme. At a



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virtual event hosted by UWM, UWM’s CEO, Mat Ishbia publicly announced

UWM’s Ultimatum via a video posted on UWM’s Facebook page. (See Video

Link beginning at 9 min; 10 sec mark). In the video, Mr. Ishbia demanded

that mortgage brokers boycott Rocket Pro TPO and Fairway. He stated that

“if you work with them [Fairway Mortgage and Rocket Pro TPO], you can’t

work with UWM, effective immediately.”

       37.    Mr. Ishbia stated on the video chat on Facebook that one

purpose of the boycott related to efforts to prevent Fairway’s and Rocket

Mortgage’s competition at retail. He stated that “[w]e don’t need to fund

Fairway Independent or Rocket Mortgage to try to put brokers out of

business.”

       38.    Ishbia falsely accused Rocket Mortgage of paying real estate

agents to cut out competing brokers and instead refer clients to Rocket

Mortgage. Additionally, Ishbia falsely accused Rocket Mortgage of soliciting

mortgage brokers’ past clients and dissuading them from working with

those mortgage brokers.

       39.    Ishbia made these statements intentionally, with knowledge

that they were false.

       40.    Mr. Ishbia personally directed and carried out the presentation

of the Ultimatum and the demand that brokers refuse to deal with Rocket


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Pro TPO and Fairway. He made these demands through his virtual

presentation to all of UWM’s brokers located throughout the United States,

including Florida. UWM is licensed to operate in Florida, and UWM

interacts with mortgage brokers at events in Florida, including the FAMP

Miami Mortgage Convention. Thus, Mr. Ishbia’s anticompetitive conduct

was directed specifically at Florida residents, as well as residents of many

other states. Mr. Ishbia’s actions make clear that he intentionally instigated

the boycott.

       41.    Many brokers in attendance at the event explicitly heeded Mr.

Ishbia’s clarion call to boycott UWM’s closest competitors, providing public

comments viewed by all other participating brokers as part of the live

Facebook event. These communications included many expressions of

agreement. The statements included:       “We are ALL IN”       “unstoppable

together…” “We are all family! Brokers are better when we work together”;

“Brokers are family. We don’t go against our family”; “All in…..with us or

out”; “You’re either with the captain [UWM] or off the boat”; “with us or

against us”; and “all for one and one for all.” Other comments reflecting an

agreement to boycott were the following: “Team Broker!”; Let’s kill it fam-

--you know it’s going to be good”; “BROKERS---WAKE UP!!! Stop sending

files to the enemy! Protect your book of business” “This is what we have


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been waiting for broker community”: “We are ALL IN” “unstoppable

together”; “Sign on the line that is dotted”; “All in “; “With us or out.”

       42.    Mr. Ishbia’s statements and these brokers’ communications

took place in complete public view on a forum (a Facebook site) accessible

to thousands of brokers. Mr. Ishbia repeatedly referred to this collective

action as the “‘all in’ initiative.” Mr. Ishbia stated that “all of our current

clients are aligned” with respect to this initiative. Mr. Ishbia also stated

that the participating brokers “have locked arms with us.”

       43.    Brokers also used UWM’s Facebook page to discourage brokers

who disagreed with the boycott. For example, Broker C joined the

discussion to express his opposition to the boycott. Broker A castigated

Broker C and accused Broker C: “[you] don’t care about the [broker]

channel as a whole.”

       44.    Brokers also facilitated and offered assistance to other brokers

to sign UWM’s addendum. Broker E asked other brokers “Where do we get

the form to sign[?]” and received a response from another broker with

instructions on how to access the addendum and advice for how to

terminate his broker agreement with Rocket.

       45.    That same day, the Association of Independent Mortgage

Experts (“AIME”) issued its own letter voicing support for the boycott. As


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part of the live chat, AIME stated during the Facebook video: “Work with

TRUE lender partners. Let’s strengthen the challenge!” AIME receives

significant funding from UWM and routinely works with UWM on its

marketing efforts. AIME states that its members “come from every region

across the country.”

       46.    AIME describes itself as “a community” of “mortgage

professionals” and says its members include “wholesale mortgage

professionals”, independent mortgage brokers and persons “affiliated with

a company that does not underwrite its own loans.” AIME says that it is

“the only non-profit trade association dedicated exclusively to independent

mortgage brokers.” AIME encouraged its members, mortgage brokers, to

join they boycott. AIME’s actions reflected the collective agreement of its

members, who it represents.

       47.    UWM stated that brokers should take this action in order to

retaliate against, and deter, retail competition.     AIME referred to the

initiative as “brokers rallying against whole-tail lending” or BRAWL.

“Whole-tail lending” refers to lenders who operate both in the wholesale

and retail segments. Mr. Ishbia stated that this initiative could deter retail

lenders from competing aggressively in the wholesale space.




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       48.    Mortgage brokers belong to a number of trade groups and

collective organizations, including not only AIME but the National

Association of Mortgage Brokers, Mortgage Brokers United, and Brokers

Are Better. All these trade associations, which have regular meetings and,

in the case of Brokers Are Better, had a private Facebook discussion page,

have provided significant vehicles for communication and agreement

between the mortgage brokers with regard to the boycott.

       49.    Through its Facebook page, UWM hosted a digital forum where

brokers could discuss, facilitate and organize the boycott. Brokers worked

to persuade other brokers into joining the boycott. In one conversation,

Broker A urged Broker B to engage with Rocket “no more! Sign the

addendum.” Broker B confirmed an hour later that she signed, to which

Broker A replied, “great job!”

       50.    UWM further facilitated the boycott by providing forums for

mortgage brokers to join the boycott in plain sight, assisting each other

with terminating their relationships with Rocket Pro TPO and Fairway.

UWM joined in facilitating these terminations.

       51.    Later in the day, following the Facebook Live announcement,

Mr. Ishbia appeared in an interview conducted by mortgage news outlet

HousingWire for their Spring Summit. This interview was broadcast live to


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registrants,     many   of   whom   were   brokers.   Ishbia      repeated   his

announcement that UWM would cease working with any broker who

continued to work with Rocket Pro TPO and Fairway. When the

HousingWire interviewer asked Ishbia how UWM intended to “enforce”

this boycott, Ishbia replied: “[E]veryone’s going to sign an addendum that

says ‘hey listen, we’re not working with those two lenders.’”

       52.     As is customary, HousingWire’s real-time chat feature also

displayed comments made by viewers during the broadcasted interview.

Brokers signaled their agreement to join the boycott with statements, such

as “Let’s go!” and “Dominate!”, in plain view to other brokers.

       53.     UWM employees were not mere hosts of broker discussions and

agreements on Facebook; they were active facilitators. A UWM employee

responded to a broker who expressed concern about the boycott, by stating

that “every move we make is to protect UWM and the broker channel long

term. Let’s chat next week!” A different UWM employee, using Facebook’s

emoji feature, “liked” broker comments that indicated they had joined the

boycott.

       54.     To implement the Ultimatum and coerce the boycott of Fairway

Mortgage and Rocket Pro TPO, Defendants advised their broker clients who

also did business with Fairway Mortgage and Rocket Pro TPO that they


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were required to consent to a contract addendum (“Addendum”). The

Addendum sent to the mortgage brokers provided, in pertinent part:

              United Wholesale Mortgage, LLC (“UWM”) is
              amending its broker, correspondent and financial
              institution agreements by adding a representation
              and warranty that its clients will not submit loans to
              either Rocket Mortgage or Fairway Independent
              Mortgage. Client acknowledges and agrees, that
              until client provides written notice terminating its
              agreement with UWM, client and its employees will
              not submit mortgage loan applications or mortgage
              loans to either Rocket Mortgage or Fairway
              Independent Mortgage for review, underwriting,
              purchase and/or funding (unless such loan was
              locked with Rocket Mortgage or Fairway
              Independent Mortgage prior to March 15, 2021). If
              client or client’s employees breach this
              representation and warranty, client agrees to pay
              liquidated damages to UWM of: (i) Five Thousand
              Dollars ($5,000.00) per loan closed with UWM, or
              (ii) Fifty Thousand Dollars ($50,000.00), whichever
              is greater.

       55.    Plaintiff and Class Members were advised that they had until

11:59 P.M. on March 15, 2021 to accept Defendants’ Ultimatum or face

termination of their business relationship with UWM.

       56.    In a further effort to pressure and induce mortgage brokers to

accept Defendants’ Ultimatum, UWM’s Account Executives, whose job

involves communicating with mortgage brokers, contacted Plaintiff and

other Class Members and falsely asserted that that mortgage broker was the

only one who had not yet accepted Defendants’ Ultimatum.

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       57.    After the Ultimatum deadline of March 15, 2021 passed, UWM,

through its Account Executives, communicated other false statements to

mortgage brokers, including Plaintiff and/or Class Members, that Rocket

Mortgage “was stealing rate locks from mortgage brokers and transferring

them to realtors” and it “literally STOLE the lock and pricing from my

broker so the Realtor’s loan would work.”

       58.    UWM, through its account executives, communicated to

mortgage brokers, including Plaintiff and Class Members that Rocket

Mortgage “was lying to them,” and “is not to be believed.”

       59.    UWM, through its account executives, also communicated to

mortgage brokers, including Plaintiff and Class Members, false statements

that denigrated Rocket Mortgage corporate officers and even went so far as

to denigrate Rocket Mortgage Chairman, Dan Gilbert’s, health.

       60.    UWM has also retaliated against brokers who signed this

agreement but then did business with Rocket or Fairway.          Three such

brokers have been sued by UWM. One of the lawsuits claimed damages of

$2.8 million. In at least one of those cases, UWM also froze more than 100

loans related to that broker’s customers that were already in the pipeline.

       61.    The boycott was highly successful. UWM announced “93% of

the brokers presented with the addendum agreed to join the boycott.”


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UWM later stated that more than 11,000 of 12,000 brokers participated in

the initiative. UWM stated that “not even 500” of its brokers declined to

participate in the boycott. Mr. Ishbia stated to the press that “I couldn’t

have imagined it going so well.” UWM also stated that after the boycott was

initiated, UWM received more than 17,000 more loan applications in April

than it had in the month prior to the boycott. Mr. Ishbia predicted on the

video that Rocket Mortgage and Fairway would lose 70%-90% of their

business.

       62.    The success of the initiative and UWM’s plans for market

domination are reflected in Mr. Ishbia’s statement in June of 2021 that it

was “more than realistic” that UWM would pass Rocket in total mortgage

loan business. This is highly significant, since the bulk of Rocket’s business

is in the retail submarket. For UWM to pass Rocket in total, it would need

to increase its wholesale business by approximately 60%.         This would

increase its market share in the wholesale submarket to between 50% and

60%.

       63.    This prospect is further supported by UWM’s 20% increase in

funded loans in 2021, and the expectation of commentators that current

conditions will lead to a “shakeout” of smaller mortgage lenders, leading to




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further share gains by larger firms such as UWM. According to Mr. Ishbia,

UWM enjoys significant competitive advantages because of its “scale.”

       64.    After the unilaterally imposed deadline passed for accepting

Defendants’ Ultimatum, the Class Members who had not acknowledged

acceptance of Defendants’ Ultimatum received notice from UWM that their

UWM Wholesale Lending Agreement was terminated or that the mortgage

broker was suspended from doing business with UWM.

       65.    The boycott was a dramatic change in behavior by the

boycotting brokers, who until that time had been utilizing Rocket Pro TPO

and Fairway in increasing numbers because of their strong reputation, good

prices and high quality service. It was therefore against the brokers’

unilateral self-interest to refuse to use Rocket Pro TPO and Fairway, except

for the facts of UWM’s coercion and the brokers’ agreement to collectively

boycott Rocket Pro TPO and Fairway.

       66.    Notwithstanding UWM’s coercion, individual mortgage brokers

would have suffered even greater harm through their agreement to not deal

with Fairway or Rocket Pro TPO had it not been for the collective decision

of more than 9,000 brokers to refuse to use those wholesale mortgage

alternatives. If an individual broker deprived itself of the availability of

alternative loans from Fairway and Rocket Pro TPO it could expect to lose


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substantial business to other brokers who are offered these alternatives,

unless large numbers of competing brokers were “all in”, as they agreed to

be. The brokers noted that they were “unstoppable together”. Thus, when

the brokers acted collectively, that reduced the harm to individual brokers

from the refusal to deal. This provided strong motivation for them to act

collectively.

       A.     Plaintiff’s Experiences Resulting from the Ultimatum

       67.    The experience of the named Plaintiff is representative of the

uniform nature of Defendants’ unlawful business practices as to the Class.

       68.    The Okavage Group is a mortgage brokerage company that

advises and assists clients (consumers/prospective borrowers) with

applying for and obtaining residential mortgages. Like Class Members, The

Okavage Group has regularly submitted mortgage loan applications on

behalf of clients to UWM, Fairway Mortgage and Rocket Pro TPO since

approximately October 2018.

       69.    The Okavage Group has brought a substantial number of clients

to UWM, Fairway, and Rocket Pro TPO. The Okavage Group refused

UWM’s Ultimatum because of its need to offer what were often lower-

priced, better-suited mortgages from Rocket Pro TPO and Fairway.




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       70.    Subsequent to March 15, 2021, after The Okavage Group

refused to accept Defendants’ Ultimatum, UWM arbitrarily terminated its

Wholesale Lending Agreement with the Okavage Group, refusing to accept

mortgage applications by customers of The Okavage Group. Because of

Defendants’ Ultimatum, The Okavage Group has lost customers who were

interested in loans from UWM.

       71.    The Okavage Group has suffered direct financial injury,

including lost sales and lost commissions.

   III.       ANTICOMPETITIVE   EFFECTS   OF   DEFENDANTS’
              CONDUCT AND HARM TO BROKERS AND CONSUMERS

       72.    The boycott has had the effect of increasing the costs of

mortgage loans and has increased the cost of operations of Plaintiff and

other Class Members, to an artificially high, non-competitive level. Those

acquiescing in the Ultimatum are now prohibited from making application

for and obtaining better-suited and/or lower-priced mortgage loan

products from Fairway and Rocket Pro TPO. While there are other

alternatives in the wholesale mortgage market, elimination of two of the

largest, and two leading wholesale mortgage lenders, who have been very

highly rated, and have offered very competitive prices, significantly reduced

competition in the relevant market.




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       73.    The boycott harmed consumers utilizing the boycotting brokers

by reducing their access to the lower priced, innovative, higher quality

products offered by Fairway and Rocket Pro TPO. See UWM Holdings

Corporation Prospectus (“Some of our competitors may have greater

financial and other resources than we have [or] more operational flexibility

in approving loans.”). The boycott also harmed consumers utilizing

terminated brokers such as Okavage because they did not have the

opportunity to consider a UWM mortgage.

       74.    The boycott lessened competition with Rocket and Fairway on

innovation, price and quality of product. The choice imposed on mortgage

brokers prevented mortgage brokers and prospective home buyers from

achieving the lowest price and/or better suited loan products. The boycott

insulated UWM from the need to compete with Rocket or Fairway’s

wholesale products on price or quality.

       75.    AIME states on its website that brokers “are the wholesale

lenders value client. They compete for your business by providing top of

the line service to make sure you are a repeat customer.” AIME on its

website states that mortgage brokers “work for the borrower, not the bank.

Independent mortgage brokers have flexibility to shop rates from multiple




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lenders . . .” That flexibility, and that service to the borrower, rather than

any particular lender, was seriously disrupted by the boycott.

       76.    The Ultimatum and the boycott caused serious injury to the

brokers and the class. All of those brokers were denied an opportunity to

offer the full range of mortgage lending alternatives to their clients. All

were deprived of the ability to offer all the leading mortgage lenders to their

clients. Those who refused the Ultimatum were unable to offer UWM

loans. Those who accepted the Ultimatum and joined the boycott were

unable to offer lower priced, higher quality Rocket Pro TPO and Fairway

loans to their customers. All these brokers were unable to satisfy their

duties as agents of their customers who did their best to provide their

customers with the best alternative in the market. This interfered with the

traditional role of the mortgage broker, as described by mortgage brokers

and by their trade associations. The Ultimatum and boycott interfered with

that competition, and reduced incentives for UWM to provide “top line

service” since it no longer had to fear competition from its greatest rivals,

Rocket Pro TPO and Fairway.

       77.    The Okavage Group and other brokers who refused the

Ultimatum were further injured because of the large number of brokers

who accepted the Ultimatum and boycotted Rocket Pro TPO and Fairway.


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As a result, most of Okavage’s competitors can offer UWM, and this can

potentially provide them with an advantage in the marketplace for

customers who desire to utilize UWM.

       78.    These facts are reflected in the comments of a number of

brokers. Some brokers who viewed UWM’s Facebook Live broadcast were

opposed to the boycott and believed it would harm brokers and result in

worse loan offerings for consumers. As one commenter noted (emphasis

added):

              Just like Thanos, Matt thinks eliminating
              competition through force will create a utopia.
              As a broker, it's tough to work with a lender
              who wants to dictate the other lenders you
              can work with.... Consider that today for a 30YR
              Fixed Refinance with a $320,000 loan amount at 80
              LTV with an 800 Score, SFR, Primary, Lender Fee
              buyout, at a 2.75% Lender paid comp: UWM is at
              2.99 with a 2.31 Cost to the borrower, while Rocket
              Pro is at a .43 Cost to the borrower. If UWM
              wants to prevent us from using the best
              priced lender, maybe they should offer
              competitive pricing so we can compete for
              refis.”
Other commenters also complained about UWM’s attempt to eliminate

their free choice and reduce competition (emphasis added):

              Love UWM. Very happy with them. But change is
              too abrupt does not give us time to adjust. Having
              competition      keeps       everyone       honest.
              Concerned that if they have no competition,
              we The Brokers lose. It’s a tough one.

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              No. Please reconsider the quicken fee. We need
              option! Do not restrict!!!! We need to stay
              open to give clients good competition good
              options!

       79.    Via a statement from President Bob Broeksmit, The Mortgage

Bankers Association said it “does not condone activities designed to thwart

competition in the mortgage market and limit loan options available to

borrows.”      Kimber White, president of the National Association of

Mortgage Brokers, concurred, calling the move “counter to the spirit of

freedom and independence that is the very foundation of our broker

business. You should be allowed to work with whomever you want, and

who offers the best product and customer service, not a company who

dictates your business model to you.”

       80.    Other brokers recognized that “[a]s independent brokers we

need to be able to shop for the best terms and best programs for our clients,

the American people.” Brokers recognized that UWM’s actions involve

“bullying” and “tyranny”. Brokers stated that the “mortgage broker channel

is being harmed as a result of this UWM mandate.” Another broker stated

that “UWM’s true goal [is] seeking to control independent brokers to such

an extent that they ultimately become effective arms of UWM.”




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       81.    Several commenters went further and recognized that the

boycott was a plain violation of antitrust laws. For example, a commenter

on the live chat responded, “Good luck with the antitrust lawsuits,” while

another joked: “I would love to see the legal team's notes on that

addendum!” and another said: “So much for free markets.” One put it

succinctly: “having brokers sign this addendum is an Anti Trust violation.”

               MARKET POWER AND BARRIERS TO ENTRY

       82.    UWM was able to force more than 9,000 brokers to agree to

refuse to deal with Rocket Pro TPO and Fairway when they had previously

often chosen to use those mortgage lenders because of their competitive

price quality and service. This reflects UWM’s market power. These brokers

could not afford to cease offering UWM, the leading broker in the market.

Therefore, they were forced to collectively agree not to deal with either

Rocket Pro TPO or Fairway, foregoing significant benefits to them and to

their customers.

       83.    There are significant barriers to entry into wholesale mortgage

lending which further allows UWM to exercise its plan of monopolization.

To be an effective competitor in the wholesale mortgage loan market, a firm

needs to repeat each of the following requirements:




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              A.   Every successful competitor needs a sophisticated

                   electronic platform that allows quick approval and closing

                   of loans. This requires substantial technical expertise and

                   software development that can take years to complete and

                   cost millions of dollars.

              B.   Effective competitors need at least hundreds, if not

                   thousands, of qualified personnel working for them. Since

                   there is no such pool of personnel available in the

                   economy, to be an effective competitor a mortgage lender

                   needs to have its own training program to develop

                   personnel with the requisite skills. This takes substantial

                   resources and time to develop.

              C.   In order to attract large numbers of mortgage brokers, a

                   wholesale mortgage lender needs a substantial sales force

                   and needs to develop a significant reputation. It also

                   needs to overcome entrenched preferences among

                   mortgage brokers and consumers. This also requires

                   significant time and substantial resources.

              D.   A successful mortgage lender needs to satisfy licensing

                   requirements on a state by state basis, as well as


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                    compliance with Fannie Mae/Freddie Mac and VA

                    guidelines for firms whose mortgages qualify for mortgage

                    insurance. It requires substantial resources to meet all

                    these requirements, which also takes substantial time to

                    achieve.

              E.    A mortgage lender needs substantial funds in order to

                    provide loans at a sufficient scale to be an effective

                    competitor. It also needs to possess sufficient funds to

                    advance funds when borrowers do not make payments.

                    This requires tens of millions of dollars of resources.

       84.    For all these reasons, firms cannot enter and become successful

competitors in the wholesale mortgage loan market without the

expenditure of substantial resources and efforts over a substantial period of

time, generally several years.

                       CLASS ACTION ALLEGATIONS

       85.    Plaintiff brings this action individually and as representative of

all similarly situated mortgage brokers, pursuant to Federal Rule of Civil

Procedure Rule 23, on behalf of the below-defined Class:

              All mortgage brokers who were subject to
              Defendants’ Ultimatum requiring them to cease
              doing business with Fairway Mortgage and Rocket
              Pro TPO and imposing financial penalties for

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              submitting any loan application to Fairway
              Mortgage or Rocket Pro TPO, or in the alternative,
              face termination of their business relationship with
              UWM.

       86.    Excluded from the above-defined Class are Defendants and its

officers, directors, and employees; any entity in which the Defendants have

a controlling interest, Defendants’ affiliates, legal representatives,

attorneys, heirs or assigns; Defendants’ immediate family members; any

federal, state, or local government entity, any judge, justice, or judicial

officer presiding over this matter, the members of their immediate families,

their judicial staffs, persons whose claims in this matter have been finally

adjudicated on the merits or otherwise released, Plaintiff’s counsel and

Defendants’ counsel, and the legal representatives, successors, and assigns

of any such excluded person.

       87.    Plaintiff reserves the right to modify or amend the definition of

the proposed class and/or sub-classes before the Court determines whether

certification is appropriate.

       88.    Cases such as this, which involve one ultimatum made to a

group, are particularly well-suited for class treatment because the Class

Members face the same common questions of fact and law which include,

but are not limited to:




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              A.   Whether Defendants’ actions and Ultimatum are violative

                   of federal and state antitrust acts, including the Sherman

                   Act and The Florida Antitrust Act;

              B.   Whether Defendants’ actions and Ultimatum tortiously

                   interfered with business relationships;

              C.   Whether Defendants’ actions and Ultimatum are violative

                   of various consumer protection acts and/or deceptive and

                   unfair trade practices acts;

              D.   Damages, including whether Defendants’ violations allow

                   Plaintiff and Class Members to recover treble damages,

                   punitive damages and attorneys’ fees.

       89.    Upon information and belief, Defendants have utilized the

same, identical form Addendum as the document Defendants demanded

brokers, including Plaintiff and Class Members, accept as part of the

Ultimatum.

       90.    Plaintiff’s claims are typical of the claims of other Class

Members. The factual and legal bases of Defendants’ liability to Plaintiff

and the other Class Members are the same inasmuch as Defendants

violated the Sherman Act, the Florida Antitrust Act, the Florida Deceptive

and Unfair Trade Practices Act and tortiously interfered with Plaintiff’s and


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Class Members’ business relationships with known third parties as further

described herein.

       91.    Plaintiff will fairly and adequately protect the interests of the

Class Members.

       92.    Class action treatment is superior to the alternatives for the fair

and efficient application of the controversy alleged herein. Such treatment

will permit a large number of similarly situated persons to prosecute their

common claims in a single forum simultaneously, efficiently and without

duplication of effort and expense that numerous individual actions would

entail. There are, on information and belief, thousands of Class Members

such that joinder of all Class Members is impracticable. The precise number

of Class Members and their addresses are presently unknown to Plaintiff,

but may be reasonably ascertained from UWM’s records and files.

Similarly, Class Members may be notified of the pendency of this action by

recognized, Court-approved notice dissemination methods, which may

include U.S. mail, electronic mail, internet postings, and/or published

notice. As such, class action is the more efficient procedure for determining

liability and damages in a case such as this, where each Class Member

acquiesced or refused to acquiesce to the same Ultimatum and where

damages can be determined formulaically.


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       93.    Defendants engaged in a common course of conduct giving rise

to the legal rights sought to be enforced by Plaintiff, on behalf of itself and

the other Class Members. Similar or identical violations, business practices,

and injuries are involved, and the contractual rights involve uniform,

objective questions of fact and law, both for the prosecution and for the

defense. The common questions of fact and law existing as to all Class

Members predominate over questions affecting only individual Class

Members. Such common questions of fact and law include, but are not

limited to, the proper interpretation of the Ultimatum; whether Defendants

can unilaterally enforce the provisions thereof; and whether Plaintiff is

entitled to damages and other monetary relief and, if so, in what amount.

Individual questions, if any, pale by comparison, both in quality and

quantity, to the numerous common questions that predominate in this

action. Thus, the elements of commonality and predominance are both met.

       94.    No difficulties are likely to be encountered in the management

of this class action that would preclude its maintenance as a class action,

and no superior alternative exists for the fair and efficient adjudication of

this controversy.

       95.    Typicality exists inasmuch as class representatives who, in their

role as mortgage brokers, have been forced to accept Defendants’


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Ultimatum to cease doing business with Fairway Mortgage and Rocket Pro

TPO, or face financial penalties imposed by UWM or termination of their

business relationship with UWM. Furthermore, Plaintiff’s claims are typical

of those of the members of the Class because, among other things, all Class

Members have been comparably injured through Defendants’ common

course of unlawful conduct and seek the same kind of relief.

       96.    To be sure, there are no defenses available to Defendants that

are unique to the Plaintiff. The injury and causes of actions are common to

the Class Members as all arise from the same existing contractual

relationship and involve the same unlawful Ultimatum.

       97.    Certification of Plaintiff’s claims for class-wide treatment is

appropriate because Plaintiff can prove the elements of its claims on a

class-wide basis using the same evidence as would be used to prove those

elements in individual actions alleging the same claims.

       98.    Defendants have acted and failed to act on grounds generally

applicable to Plaintiff and other Class Members, thereby making relief

appropriate with respect to the Class Members as a whole. Prosecution of

separate actions by individual Class Members, should they even realize that

their rights have been violated, would likely create the risk of inconsistent

or varying adjudications with respect to individual Class Members.


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       99.    Plaintiff will adequately represent the Class. It has no interests

that are in conflict with those of the Class. In addition, Plaintiff has retained

counsel competent and experienced in complex, as well as class action

litigation, and will prosecute this action vigorously. The interests of the

Class will be fairly and adequately protected by Plaintiff and its counsel.

       100. In the event unforeseen issues preclude class certification under

Fed.R.Civ.P. 23(b)(3), the case is still appropriate for class certification

under Fed.R.Civ.P. 23(c)(4), as to the particular issues of liability.

                             COUNT I
               PER SE VIOLATION OF ANTITRUST LAW
                 (SECTION 1 OF THE SHERMAN ACT)
                    (United Wholesale Mortgage)

       101. Plaintiff repeats and realleges paragraphs 1-18, 20-37, 40-61

and 64-100 of this Complaint as though fully set forth herein.

       102. The conduct of UWM and its mortgage brokers constituted a

per se illegal group boycott in violation of Section 1 of the Sherman Act.

UWM and its participating brokers are jointly and severally liable for this

conduct. The boycott amounted to a coerced, concerted refusal to deal with

Rocket Pro TPO or Fairway by 93% of UWM’s 10,000 brokers. These

brokers represented the majority of brokers in the wholesale mortgage loan

market, and therefore involved a dominant portion of the market.




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       103. As a direct and proximate result of UWM’s violation of Section

2 of the Act, Plaintiff and Class Members have been injured and financially

damaged by the reduction in choice, lost customers and commissions and

have been injured (and will continue to be injured) in their business and

property in the millions of dollars prior to trebling.

       104. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).

                            COUNT II
              UNREASONABLE RESTRAINT OF TRADE
                  IN VIOLATION OF 15 U.S.C. § 1
                   (United Wholesale Mortgage)

       105. Plaintiff repeats and realleges paragraphs 1-18, 20-37 and 40-

100 of this Complaint as if fully set forth herein.

       106. As described above, UWM has substantial market power.

       107. The conduct described above was undertaken pursuant to

agreements between individual mortgage brokers and UWM, reflected in

execution of the Addendum, by more than 9,000 mortgage brokers.

       108. Those agreements have unreasonably restrained trade in each

of the relevant markets, in violation of Section 1 of the Sherman Act.

       109. The agreements between UWM and its mortgage brokers

described above and the conduct undertaken as a result of that agreement

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caused substantial anticompetitive effects and increased prices and reduced

quality, as described above. UWM and its participating mortgage brokers

are jointly and severally liable for this conduct.

       110. As a direct and proximate result of UWM’s violation of Section

2 of the Act, Plaintiff and Class Members have been injured and financially

damaged by the reduction in choice, lost customers and commissions and

have thereby been injured (and will continue to be injured) in their

business and property in the millions of dollars prior to trebling.

       111. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).

                         COUNT III
       VIOLATIONS OF SECTION 2 OF THE SHERMAN ACT –
                 ATTEMPT TO MONOPOLIZE
                (United Wholesale Mortgage)

       112. Plaintiff restates the allegations of paragraphs 1-18 and 20-100

of this Complaint, as if fully restated herein.

       113. By each of its actions described above, UWM specifically sought

to attain monopoly power. Based on UWM’s high market share and its

market power as illustrated by its ability to coerce compliance with its

Ultimatum, the high barriers to entry described above, and UWM’s

anticompetitive actions, there is a dangerous probability that UWM will

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achieve its goals and attain monopoly power. Such actions constitute

unlawful attempted monopolization of the relevant wholesale mortgage

lending market or submarket in violation of Section 2 of the Sherman Act,

15. U.S.C. § 2.

       114. The actions of UWM substantially harmed competition through

its effects on mortgage rates, consumer choice.

       115. As a direct and proximate result of UWM’s violation of Section

2 of the Act, including its enforcement of its illegal agreement, Plaintiff and

Class Members have been injured and financially damaged by the reduction

in choice, lost customers and commissions and have thereby been injured

(and will continue to be injured) in their business and property in the

millions of dollars prior to trebling.

       116. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).

                       COUNT IV
 RESTRAINT OF TRADE IN VIOLATION OF FLA. STAT. § 542.18
     (FLORIDA ANTITRUST ACT – PER SE VIOLATION)
              (United Wholesale Mortgage)

       117. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-37, 40-61

and 64-100 of this Complaint as if fully set forth herein.




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       118. As a direct and proximate result of UWM’s and its brokers’ per

se violation of Fla. Stat. § 542.18, Plaintiff and Class Members have been

injured and financially damaged by the reduction in choice, lost customers

and commission and have thereby been injured (and will continue to be

injured) in their business and property in the millions of dollars prior to

trebling.

       119. Plaintiff, and by definition the Class, are persons who are

entitled to commissions lost and/or or refunds of any financial penalties

imposed by UWM.

       120. As a direct and proximate result of UWM’s violation of Fla. Stat.

§ 542.18, Plaintiff and Class Members have suffered, and will continue to

suffer damages in the future, including compensatory and consequential

damages, plus interest, in an amount in excess of $75,000.

       121. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.22.




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                       COUNT V
 RESTRAINT OF TRADE IN VIOLATION OF FLA. STAT. § 542.18
(FLORIDA ANTITRUST ACT – UNREASONABLE RESTRAINT OF
                       TRADE)
              (United Wholesale Mortgage)

       122. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-37, and

40-100 of this Complaint as if fully set forth herein.

       123. UWM’s and its brokers’ actions as described above are an

unreasonable restraint of trade in violation of Florida Statute Section

542.18.

       124. As a direct and proximate result of UWM’s violations of Fla.

Stat. § 542.18, Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and

commissions and have thereby been injured (and will continue to be

injured) in their business and property in the millions of dollars prior to

trebling.

       125. As a direct and proximate result of UWM’s violation of Fla. Stat.

Fla. Stat. § 542.18, Plaintiff and Class Members have suffered, and will

continue to suffer damages in the future, including compensatory and

consequential damages, plus interest, in an amount in excess of $75,000.




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       126. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.22.

                         COUNT VI
             VIOLATION OF FLA. STAT. § 542.19
   (FLORIDA ANTITRUST ACT – ATTEMPT TO MONOPOLIZE)
                (United Wholesale Mortgage)

       127. Plaintiff repeats and realleges paragraphs 1-15, 19 and 20-100 of

this Complaint as if fully set forth herein.

       128. In violation of the Florida Antitrust Act, Fla. Stat. § 542.19,

UWM has willfully, knowingly and with specific intent, attempted to

monopolize the wholesale mortgage lending market or submarket.

       129. As a direct and proximate result of UWM’s violation of Fla. Stat.

§ 542.19, Plaintiff and Class Members have been injured and financially

damaged by the reduction in choice, lost customers and commissions and

have thereby been injured (and will continue to be injured) in their

business and property in the millions of dollars prior to trebling.

       130. As a direct and proximate result of UWM’s violation of Fla. Stat.

§ 542.19, Plaintiff and Class Members have suffered, and will continue to

suffer, damages in the future, including compensatory and consequential

damages, plus interest, in an amount in excess of $75,000.




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       131. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.19.

                       COUNT VII
   TORTIOUS INTERFERENCE WITH BUSINESS CONTRACTS
        AND PROSPECTIVE ECONOMIC ADVANTAGE
               (United Wholesale Mortgage)

       132. Plaintiff repeats and realleges paragraphs 1-15, 19 and 20-100 of

this Complaint as if fully set forth herein.

       133. Plaintiff and Class Members had and were likely to maintain

business relationships with borrowers desiring recommendation for the

best source of mortgage loans, including choices among mortgage loans

from Fairway, Rocket Pro TPO and UWM and with real estate brokers and

others who referred customers to the mortgage brokers so that they could

make such recommendations.

       134. UWM knew of these business relationships and contracts

between mortgage brokers in the wholesale lending market and their

clients.

       135. UWM’s intentional false statements and anticompetitive and

coercive acts described above, including the Ultimatum, interfered with

these relationships and contracts by depriving brokers of either the

opportunity to offer Rocket Pro TPO and Fairway mortgages (if they

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succumbed to UWM’s boycott) or the opportunity to offer UWM (if they did

not).

        136. As a direct and proximate result of UWM’s actions, Plaintiff and

Class Members were financially damaged by loss of business and disruption

of those relationships and contracts because they could not offer the full

choice of mortgage brokers to consumers.

        137. As a direct and proximate result of Defendants’ actions, Plaintiff

and Class Members have suffered, and will continue to suffer damages in

the future, including compensatory and consequential damages, plus

interest, in an amount in excess of $75,000.

        138. Plaintiff, and Class Members, are entitled to recover damages as

a result of Defendants’ actions.

        139. Defendants’ actions were willful, knowing and intentional,

entitling Plaintiff and Class Members to punitive damages.

                        COUNT VIII
             VIOLATION OF FLA. STAT § 501.201
    (FLORIDA’S DECEPTIVE AND UNFAIR TRADE PRACTICES
                          ACT)
                (United Wholesale Mortgage)

        140. Plaintiff repeats and realleges paragraphs 1-15, 19 and 20-100 of

this Complaint as if fully set forth herein.




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       141. Plaintiff and Class Members are “consumers” as defined under

Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.203(7)

which term is broadly defined to include business entities: “Consumer

means an individual; … business; firm; association; joint venture;

partnership; estate; trust; business trust; syndicate; fiduciary; corporation;

any commercial entity, however denominated; or any other group or

combination.” (emphasis added).

       142. UWM’s actions described above are unlawful and unfair

methods of competition, unconscionable acts or practices, and unfair or

deceptive acts or practices in the conduct with any trade or commerce

within the scope of Fla. Stat. § 501.204(1).

       143.   To remedy these violations, it is requested that this Court

award damages for the injuries and losses sustained by Plaintiff and Class

Members as a result of Defendants’ unlawful, deceptive and unfair trade

practices and reasonable attorneys’ fees pursuant to Florida’s Deceptive

and Unfair Trade Practices Act.

       144. As a direct and proximate result of Defendants’ violation of Fla.

Stat. § 501.204(1), Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and




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commissions and have thereby been injured in their business and property

in the millions of dollars.

       145. As a direct and proximate result of Defendants’ actions, Plaintiff

and Class Members have suffered, and will continue to suffer damages in

the future, including compensatory damages, plus interest, in an amount in

excess of $75,000.

       146. Plaintiff, and Class Members, are entitled to recover damages

and attorneys’ fees pursuant to statute in an amount to be determined, as

provided for by Fla. Stat. § 501.211(2).

                              COUNT IX
              (DECLARATORY RELIEF, 28 U.S.C. §§ 2201-2202)
                     (United Wholesale Mortgage)
       Plaintiff, and Class Members, seek declaratory relief against

Defendants and allege:

       147. Plaintiff repeats and realleges paragraphs 1 through 100 this

Complaint as if fully set forth herein.

       148. An actual controversy now exists between Plaintiff and UWM

regarding the validity and enforceability of Defendants’ Addendum, and

rights and liabilities related thereto.

       149. UWM has or has threatened to, terminate or suspend the

business relationships with Plaintiff and Class Members who refuse to



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accept its Ultimatum and to impose exorbitant and unconscionable

financial penalties for Plaintiff and Class Members who sign the UWM

Addendum but subsequently submit a client’s (consumer/prospective

borrower) mortgage loan application to Fairway or Rocket.

       150. The exorbitant and unconscionable financial penalties called for

in connection with the Addendum have been labelled by UWM as

“Liquidated Damages” but have also been described by UWM as a “penalty”

for failing to acquiesce to the Ultimatum and comply with the boycott

against Fairway Mortgage and Rocket Pro TPO.

       151. The Liquidated Damages provided for in the Addendum are

clearly designed as a penalty that bears no relationship to actual damages

that may be incurred by UWM even if the Addendum itself was enforceable

(which it is not).   The Liquidated Damages were arbitrarily and solely

determined by UWM and are admittedly penalties.

       152. Plaintiff requests: 1) a declaration that the Ultimatum and

Addendum are illegal under federal and Florida antitrust laws; 2) a

declaration that the Addendum is unlawful and unenforceable; and 3) a

declaration that the Liquidated Damages provision in the Addendum is a

penalty and is therefore unenforceable by law.

                           COUNT X
              PER SE VIOLATION OF ANTITRUST LAW

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                 (SECTION 1 OF THE SHERMAN ACT)
                            (Mat Ishbia)

       153. Plaintiff repeats and realleges paragraphs 1-18, 20-37, 40-61

and 64-104 of this Complaint as though fully set forth herein.

       154. All of UWM’s actions described above were specifically directed,

authorized and ordered by its CEO, Mat Ishbia. Additionally, Mr. Ishbia

personally orchestrated the boycott and announced the penalties that

would be imposed on brokers who would not participate in the boycott, as

described above.

       155. For these reasons Mr. Ishbia is personally liable for UWM’s

participation in the boycott.

       156. As a direct and proximate result of Mr. Ishbia’s violation of

Section 2 of the Act, Plaintiff and Class Members in choice, lost customers

and commissions and have thereby been injured in their business and

property in the millions of dollars prior to trebling.

       157. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).




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                            COUNT XI
               UNREASONABLE RESTRAINT OF TRADE
                   IN VIOLATION OF 15 U.S.C. § 1
                           (Mat Ishbia)

       158. Plaintiff repeats and realleges paragraphs 1-18, 20-37, 40-100

and 106-111 of this Complaint as though fully set forth herein.

       159. All of UWM’s actions described above were specifically directed,

authorized and ordered by its CEO, Mat Ishbia. Additionally, Mr. Ishbia

personally orchestrated the boycott and announced the penalties that

would be imposed on brokers who would not participate in the boycott, as

described above.

       160. For these reasons Mr. Ishbia is personally liable for UWM’s

participation in the boycott.

       161. As a direct and proximate result of Mr. Ishbia’s violation of

Section 1 of the Act, Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and

commissions, and have thereby been injured in their business and property

in the millions of dollars prior to trebling.

       162. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).




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                         COUNT XII
       VIOLATIONS OF SECTION 2 OF THE SHERMAN ACT –
                 ATTEMPT TO MONOPOLIZE
                        (Mat Ishbia)

       163. Plaintiff repeats and realleges paragraphs 1-18, 20-100 and 113-

116 of this Complaint as though fully set forth herein.

       164. All of UWM’s actions described above were specifically directed,

authorized and ordered by its CEO, Mat Ishbia. Additionally, Mr. Ishbia

personally orchestrated the boycott and announced the penalties that

would be imposed on brokers who would not participate in the boycott, as

described above.

       165. For these reasons Mr. Ishbia is personally liable for the actions

of UWM described above.

       166. As a direct and proximate result of Mr. Ishbia’s violation of

Section 2 of the Act, Plaintiff and Class Members in choice, lost customers

and commissions and have thereby been injured in their business and

property in the millions of dollars prior to trebling.

       167. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by 15 U.S.C. §15(a).

                     COUNT XIII
 RESTRAINT OF TRADE IN VIOLATION OF FLA. STAT. § 542.18



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          (FLORIDA ANTITRUST ACT – PER SE VIOLATION)
                         (Mat Ishbia)

       168. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-37, 40-61,

64-100 and 118-121 of this Complaint as though fully set forth herein.

       169. As a direct and proximate result of Mr. Ishbia’s per se violation

of Fla. Stat. § 542.18, Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and

commission and have thereby been injured in their business and property

in the millions of dollars prior to trebling.

       170. As a direct and proximate result of Mr. Ishbia’s violation of Fla.

Stat. § 542.18, Plaintiff and Class Members have suffered, and will continue

to suffer damages in the future, including compensatory and consequential

damages, plus interest, in an amount in excess of $75,000.

       171. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.22.

                     COUNT XIV
 RESTRAINT OF TRADE IN VIOLATION OF FLA. STAT. § 542.18
(FLORIDA ANTITRUST ACT – UNREASONABLE RESTRAINT OF
                       TRADE)
                     (Mat Ishbia)

       172. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-37, 40-

100 and 123-126 of this Complaint as though fully set forth herein.


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       173. As a direct and proximate result of Mr. Ishbia’s violation of Fla.

Stat. § 542.18, Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and

commissions and have thereby been injured in their business and property

in the millions of dollars prior to trebling.

       174. As a direct and proximate result of Mr. Ishbia’s violation of Fla.

Stat. Fla. Stat. § 542.18, Plaintiff and Class Members have suffered, and will

continue to suffer damages in the future, including compensatory and

consequential damages, plus interest, in an amount in excess of $75,000.

       175. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.22.

                       COUNT XV
             VIOLATION OF FLA. STAT. § 542.19
   (FLORIDA ANTITRUST ACT – ATTEMPT TO MONOPOLIZE)
                      (Mat Ishbia)

       176. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-100 and

128-131 of this Complaint as though fully set forth herein.

       177. As a direct and proximate result of Mr. Ishbia’s violation of Fla.

Stat. § 542.19, Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and




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commissions and have thereby been injured in their business and property

in the millions of dollars prior to trebling.

       178. As a direct and proximate result of UWM’s violation of Fla. Stat.

§ 542.19, Plaintiff and Class Members have suffered, and will continue to

suffer damages in the future, including compensatory and consequential

damages, plus interest, in an amount in excess of $75,000.

       179. Plaintiff, and Class Members, are entitled to recover treble

damages and attorneys’ fees pursuant to statute in an amount to be

determined, as provided for by Fla. Stat. § 542.19.

                       COUNT XVI
     TORTIOUS INTERFERENCE WITH BUSINESS CONTRACTS
          AND PROSPECTIVE ECONOMIC ADVANTAGE
                       (Mat Ishbia)

       180. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-100 and

133-139 of this Complaint as though fully set forth herein.

       181. All of UWM’s actions described above were specifically directed,

authorized and ordered by its CEO, Mat Ishbia. Additionally, Mr. Ishbia

personally orchestrated the boycott and announced the penalties that

would be imposed on brokers who would not participate in the boycott, as

described above.

       182. For these reasons Mr. Ishbia is personally liable for the actions

of UWM described above.

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       183. As a direct and proximate result of Mr. Ishbia’s actions, Plaintiff

and Class Members were financially damaged by loss of business and

disruption of those relationships and contracts because they could not offer

the full choice of mortgage brokers to consumers.

       184. As a direct and proximate result of Mr. Ishbia’s actions, Plaintiff

and Class Members have suffered, and will continue to suffer damages in

the future, including compensatory and consequential damages, plus

interest, in an amount in excess of $75,000.

       185. Plaintiff, and Class Members, are entitled to recover damages as

a result of Mr. Ishbia’s actions.

       186. Mr. Ishbia’s actions were willful, knowing and intentional,

entitling Plaintiff and Class Members to punitive damages.

                       COUNT XVII
             VIOLATION OF FLA. STAT § 501.201
    (FLORIDA’S DECEPTIVE AND UNFAIR TRADE PRACTICES
                          ACT)
                       (Mat Ishbia)

       187. Plaintiff repeats and realleges paragraphs 1-15, 19, 20-100 and

141-146 of this Complaint as though fully set forth herein.

       188. All of UWM’s actions described above were specifically directed,

authorized and ordered by its CEO, Mat Ishbia. Additionally, Mr. Ishbia

personally orchestrated the boycott and announced the penalties that


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would be imposed on brokers who would not participate in the boycott, as

described above.

       189. For these reasons Mr. Ishbia is personally liable for the actions

of UWM described above.

       190. To remedy these violations, it is requested that this Court award

damages for the injuries and losses sustained by Plaintiff and Class

Members as a result of Mr. Ishbia’s unlawful, deceptive and unfair trade

practices and reasonable attorneys’ fees pursuant to Florida’s Deceptive

and Unfair Trade Practices Act.

       191. As a direct and proximate result of Mr. Ishbia’s violation of Fla.

Stat. § 501.204(1), Plaintiff and Class Members have been injured and

financially damaged by the reduction in choice, lost customers and

commissions and have been injured in their business and property in the

millions of dollars, as alleged more specifically in paragraphs 43-47, 72, 75-

76, 87-91, 98-101, 108-114, 120-124, 131-134, and 145-47 above.

       192. As a direct and proximate result of Defendants’ actions, Plaintiff

and Class Members have suffered, and will continue to suffer damages in

the future, including compensatory damages, plus interest, in an amount in

excess of $75,000.




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       193. Plaintiff, and Class Members, are entitled to recover damages

and attorneys’ fees pursuant to statute in an amount to be determined, as

provided for by Fla. Stat. § 501.211(2).

                            PRAYER FOR RELIEF
       WHEREFORE, Plaintiff and the Class Members pray for relief and

judgment as follows:

              A.   For an order certifying the Class, appointing Plaintiff as

                   representative for the Class, and appointing Plaintiff’s

                   counsel as Class counsel;

              B.   That Defendants bear the cost of any notice sent to the

                   Class;

              C.   For an order awarding Plaintiff and the Members of the

                   Class actual damages;

              D.   For an order awarding Plaintiff and the Members of the

                   Class treble damages;

              E.   For an order awarding Plaintiff and the Members of the

                   Class punitive damages;

              F.   For an order awarding Plaintiff and the Members of the

                   Class pre- and post-judgment interest and attorney fees;




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              G.   For an order declaring the Addendum to be unlawful and

                   unenforceable;

              H.   For an order declaring that the Liquidated Damages

                   provision in the Addendum is a penalty and is therefore

                   unenforceable by law;

              I.   For an order awarding attorneys' fees and costs of suit,

                   including experts' witness fees as permitted by law; and

              J.   Such other and further relief as this Court may deem just

                   and proper.

                         DEMAND FOR JURY TRIAL
       Plaintiff demands a trial by jury.

                                               Respectfully Submitted,
                                               PARRISH & GOODMAN, PLLC
                                               /s/ Robert H. Goodman
                                               ROBERT H. GOODMAN
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                                              admin@parrishgoodman.com
                                               AND
                                               JOSEPH E. PARRISH
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                                               jparrish@parrishgoodman.com

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                                              Secondary:
                                              admin@parrishgoodman.com
                                                    Counsel for Plaintiff

                        CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 21ST day of October, 2022, I

electronically filed the foregoing document with the Clerk of the Court

using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record via transmission of Notices of Electronic

Filing generated by CM/ECF.

Dated: 10/21/2022

                                              /s/ Robert H. Goodman
                                                  Attorney for Plaintiff




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